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                        UNITED STATES DISTRICT COURT FOR THE
                            SOUTHERN DISTRICT OF FLORIDA
                                    Miami Division

                        Case No. 1:20-cv-22234- MARTINEZ-BECERRA



   LINCO ENTERPRISES, INC.

          Plaintiff,

   v.

   OLEG FIRER, EZ CAPITAL FUND, LLC,
   STAR CAPITAL MANAGEMENT, LLC,
   And STAR EQUITIES, LLC,

          Defendants.

   ________________________________________________/

   OLEG FIRER, EZ CAPITAL FUND, LLC,
   STAR CAPITAL MANAGEMENT, LLC,
   And STAR EQUITIES, LLC,

          Counter-Plaintiffs,

   v.

   LINCO ENTERPRISES, INC,

          Counter-Defendant,

   ________________________________________________/

    DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION FOR
   ORDER THAT STRIKES CERTAIN AFFIRMATIVE DEFENSES OR DEEMS THEM
        TO BE DENIALS AND INCORPORATED MEMORANDUM OF LAW

         Defendants / Counter-Plaintiffs OLEG FIRER (“Firer”), EZ CAPITAL FUND, LLC (“EZ

  Capital”), STAR CAPITAL MANAGEMENT, LLC (“Star Capital”), and STAR EQUITIES, LLC

  (“Star Equities”) (collectively “Defendants”), by and through their undersigned counsel, respond



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  in opposition to Plaintiff / Counter-Defendant LINCO ENTERPRISES, INC’s (“Plaintiff”) Motion

  for Order that Strikes Certain Affirmative Defenses or Deems Them to be Denials (ECF No. 62)

  (“Motion”) and state as follows:

                                            INTRODUCTION

          Plaintiff’s Motion takes issue with nine of the Affirmative Defenses asserted by

  Defendants. With respect to Defendants’ Second, Third, Seventh, Eleventh, Twelfth, Eighteenth,

  Twentieth, and Twenty-First Affirmative Defenses, Plaintiff’s argument that these affirmative

  defenses are legally insufficient, or should be deemed denials, is an improper attempt to contest

  the merits of the facts pled in these affirmative defenses, which Plaintiff is not allowed to do at the

  pleading stage. Plaintiff’s Motion ignores that these defenses incorporate new facts that challenge

  Defendants’ alleged liability. Therefore, they are properly alleged affirmative defenses and not

  simply denials. However, even if any one of these defenses was a denial, then case law holds that

  the proper procedure is not to strike it but rather treat it is a specific denial.

          The remaining affirmative defense challenged by Plaintiff is the First Affirmative Defense.

  Defendants do not oppose striking this affirmative defense.

                                          LEGAL STANDARD

          “The striking of affirmative defenses is a ‘drastic remedy’ generally disfavored by courts.”

  Pujals ex rel. El Rey De Los Habanos, Inc. v. Garcia, 777 F. Supp. 2d 1322, 1327 (S.D. Fla. 2011).

          “Under Rule 8(c), an affirmative defense is sufficient when it places the plaintiff and the

  court on notice of issues Defendant intends to assert against Plaintiff's claims.” McLendon v.

  Carnival Corp., No. 20-CV-24939, 2021 WL 848945, at *2 (S.D. Fla. Mar. 5, 2021). “Motions

  to strike should not be used to obtain a summary adjudication on the merits.” Achievement &

  Rehab. Centers, Inc. v. City of Lauderhill, No. 12-61628-CIV, 2012 WL 6061762, at *1 (S.D. Fla.



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  Dec. 6, 2012).

                                     MEMORANDUM OF LAW

     A. Second Affirmative Defense.

         Defendants’ Second Affirmative Defense asserts that Plaintiff’s claims are derivative in

  nature. Plaintiff argues this affirmative defense should be stricken because Plaintiff alleges its

  claims are direct claims. Plaintiff’s Motion alleges that its claims are direct claims because

  Plaintiff alleges that “it invested $1,480,000 as result of misrepresentations made to it by the other

  members who misrepresented contributions in excess of six million dollars to the Closely Held

  Companies” and that “[t]he other members, Star Equities and Mr. Gelman, did not sustain any

  losses as they invested nothing in the Closely Held Companies.” (ECF No. 62 at 12-13). Plaintiff

  cites no support for its allegation that the other members did not sustain any losses. Id. Plaintiff

  further alleges the claims are not direct claims because Plaintiff alleges that Defendants allegedly

  violated state and federal securities laws. (ECF No. 62 at 13).

         When “analyzing whether a claim is derivative or direct, [the court] looks to the nature of

  the alleged wrong rather than the designation used by the plaintiff in the complaint.” Trondheim

  Cap. Partners, LP v. Life Ins. Co. of Alabama, No. 4:19-CV-1413-KOB, 2020 WL 7223375, at *6

  (N.D. Ala. Dec. 8, 2020). “If the gravamen of the complaint is injury primarily to the corporation

  or to the shareholders generally, then the claim belongs to the corporation and the shareholder's

  right to bring the action derives from the corporation.” Kammona v. Onteco Corp., 962 F. Supp.

  2d 1299, 1303 (S.D. Fla. 2013), aff’d, 587 F. App'x 575 (11th Cir. 2014).

         Florida law states that “[a]n action may be brought directly only if (1) there is a direct harm

  to the shareholder or member such that the alleged injury does not flow subsequently from an

  initial harm to the company and (2) there is a special injury to the shareholder or member that is



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  separate and distinct from those sustained by the other shareholders or members.” Triton II, LLC

  v. Randazzo, No. 18-CV-61469, 2018 WL 4932342, at *5 (S.D. Fla. Oct. 10, 2018) (citing Dinuro

  Invs., LLC v. Camacho, 141 So. 3d 731, 739-40 (Fla. 3d DCA 2014))

         Dinuro Invs., LLC v. Camacho identified an exception to the above two-part test “if some

  separate duty is owed from a defendant to the plaintiff shareholder or member, usually granted by

  contract or statute.” 141 So. 3d 731, 740 (Fla. 3d DCA 2014). “However, the express terms of

  the statute seem to do away with the separate statutory duty exception articulated in Dinuro.”

  Silver Crown Invs., LLC v. Team Real Est. Mgmt., LLC, 349 F. Supp. 3d 1316, 1326 (S.D. Fla.

  2018). “Accordingly, only if there is a contract—like an LLC's operating agreement—allowing

  plaintiff members to bring direct claims against other members or managers, can a plaintiff bring

  a direct action without needing to satisfy the two-prong test.” Id.

         In some circumstances, even securities fraud claims and claims based on fraud in the

  inducement may be required to be brought as derivative claims. See Kammona v. Onteco Corp.,

  962 F. Supp. 2d 1299,1302 (S.D. Fla. 2013), aff'd, 587 F. App'x 575 (11th Cir. 2014) (stating that

  securities fraud claim was derivative); c.f. Silver Crown Invs., LLC v. Team Real Est. Mgmt., LLC,

  349 F. Supp. 3d 1316,1328-1329 (S.D. Fla. 2018) (stating that a fraudulent inducement claim was

  direct because no allegations made that statements were made to non-plaintiff members were also

  fraudulently induced to invest).

         In Medkser v. Feingold, 307 F. App'x 262, 263 (11th Cir. 2008), the plaintiff alleged that

  the defendants engaged in fraud and civil conspiracy to induce them to invest in a hedge fund. The

  Eleventh Circuit found that the securities fraud claims were direct because the complaint alleged

  that other investors “may” have heard the misrepresentations in addition to the plaintiff. However,

  with respect to a civil conspiracy claim, the court found such claim is a derivative claim because



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  the plaintiffs alleged the defendants converted their funds by transferring the funds to their

  personal accounts, and such claim is indistinguishable from self-dealing and mismanagement types

  of claims, which traditionally are derivative. Id.

         In this case, Plaintiff makes allegations that are, at their core, similar to the self-dealing

  and mismanagement claims that result in an injury not only to Plaintiff but to other members.

  Plaintiff’s Second Amended Complaint (ECF No. 59) (“SAC”) alleges that Plaintiff, Star Equities,

  and non-party Gelman were not the only members of EZ Capital because the SAC alleges that

  non-party Roman Khomenko was also a member of EZ Capital. (ECF No. 59 ¶ 32(a), 33, 36).

  The SAC alleges mismanagement of EZ Capital by Gelman and Firer, and the SAC alleges that

  Firer and Gelman “drained” EZ Capital and ultimately wanted to keep for themselves the funds of

  Plaintiff. (ECF No. 59 ¶¶ 32(c), 32(d), 71, 108). Plaintiff’s SAC admits there was no required

  special injury to Plaintiff that is separate and distinct from those sustained by the other members

  because Plaintiff alleges that it suffered injury because the “defendants added no capital

  contributions of their own” and the “defendants misused Linco’s contributions in business

  enterprises operated for the benefit of Firer, Gelman, and affiliated persons.” (ECF No. 59 ¶¶ 108).

  Even if true (Defendants contest Plaintiff’s allegations), the cause of the injury, and the injury,

  alleged by Plaintiff would be felt by all the members equally because contributions are owed to

  the entities and Plaintiff expressly pleads that there were members to EZ Capital that are not

  defendants to this case such that all members of EZ Capital would have been injured by the alleged

  misuse of Plaintiff’s contributions. Triton II, LLC v. Randazzo, No. 18-CV-61469, 2019 WL

  1777726, at *7 (S.D. Fla. Apr. 23, 2019) (“Here, Triton transferred funds to CVH Florida, and

  upon transfer, they became property of the LLC”). Accordingly, the Motion should be denied

  because the Second Affirmative Defense is legally sufficient and/or the Second Affirmative



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  Defense raises substantial questions of law and fact better decided after factual development. See

  Achievement & Rehab. Centers, Inc., 2012 WL 6061762, at 1 (denying motion to strike) (“These

  defenses are not patently frivolous or clearly invalid as a matter of law. They each at least raise

  substantial questions of law better decided after factual development. . . [t]he extent to which these

  defenses are viable or not is best decided in another setting”).

     B. Third, Eleventh, and Twelfth Affirmative Defense.

         Plaintiff’s argument that Defendants’ Third, Eleventh, and Twelfth Affirmative Defenses

  are merely denials should be denied.

         Defendants’ Third Affirmative Defense introduces new facts outside of the SAC, and that

  form a basis for Defendants’ defense to Plaintiff’s claims. Confianca Mudancas E Transportes

  LTDA v. Confianca Moving, Inc., No. 09-21763-CIV, 2009 WL 10667442, at *2 (S.D. Fla. Dec.

  23, 2009) (internal citations and quotations omitted) ( “An affirmative defense is defined as ‘[a]

  defendant's assertion raising new facts and arguments that, if true, will defeat the plaintiff's or

  prosecution's claim, even if all allegations in the complaint are true’”). Specifically, Defendants’

  Third Affirmative Defense alleges various facts that go to the due diligence conducted by Plaintiff

  prior to making its alleged contributions, and that go to Plaintiff’s alleged reliance, which is a

  defense to Plaintiff’s claims. (ECF No. 60 at Third Affirmative Defense); Gochnauer v. A.G.

  Edwards & Sons, Inc., 810 F.2d 1042, 1047 (11th Cir. 1987)(“This Circuit requires

  ‘reasonable reliance’ upon the material misrepresentations, a test of subjective reliance tempered

  by the requirement of ‘due diligence’ on the part of the plaintiff.”)

         With respect to the Eleventh Affirmative Defense and Twelfth Affirmative Defenses, the

  Eleventh Affirmative Defense alleges that the SAC fails to state a cause of action because no

  misrepresentations were committed during the sale of securities, and even if there were, such



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  misrepresentations were not the proximate cause of Plaintiff’s loss. Thus, Defendants’ Eleventh

  Affirmative Defense is an affirmative defense because it raises new facts and arguments in

  response to Plaintiff’s allegations in the SAC. Similarly, Defendants’ Twelfth Affirmative Defense

  makes factual allegations that form the basis for why Plaintiff should not be awarded punitive

  damages.

         In sum, the Third, Eleventh, and Twelfth Affirmative Defenses are affirmative defenses

  because they raise new facts and arguments.

     C. Seventh Affirmative Defense.

         Defendants’ Seventh Affirmative Defense properly raises facts and arguments to show

  exactly why Plaintiff is not a dissociated member entitled to inspect the books and records of Star

  Capital.

         Plaintiffs’ argument that this defense is legally insufficient appears to rest on the allegation

  that any transfer of an interest in a limited liability company causes a member to be a dissociated

  member. (ECF No. 62 at 13). Specifically, Plaintiff alleges the Seventh Affirmative Defense is

  legally insufficient because Plaintiff alleges that “a member’s transfer of its interest in a limited

  liability company causes dissociation from the company” under Fla. Stat. § 605.0602(5)(b) and

  Plaintiff alleges that Defendants therefore admit Plaintiff is a dissociated member by alleging in

  the defense that Plaintiff sought to and did, sell Plaintiff’s interest in Star Capital. Plaintiff is

  misstating the law.

         A transfer, in whole or in part, of a transferable interest “does not by itself cause a

  member’s dissociation . . .” Fla. Stat. § 605.0502(1)(b). Furthermore, on its face, Fla. Stat. §

  605.0602(5)(b), does not apply to every instance where there is a transfer of interest because Fla.

  Stat. § 605.0602(5)(b) is premised on the condition that “[t]he person is expelled as a member by



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  the unanimous consent of the other members if any of the following occur . . . .” Id. If every

  transfer of a member’s interest caused dissociation under Section 605.0602(5)(b), then Fla. Stat. §

  605.0502(1)(b) would be meaningless.

         There is no allegation in the pleadings that Plaintiff was expelled from Star Capital such

  that Fla. Stat. § 605.0502(1)(b) would apply. In fact, Plaintiff alleged, in the SAC, that Plaintiff

  withdrew from Star Capital. (ECF No. 59 ¶ 120). Defendants’ Seventh Affirmative Defense

  properly introduces new facts in response to Plaintiff’s claims of withdrawal, namely that Plaintiff

  sought to, and did, sell Linco’s interest in Star Capital through the Class B Common Share

  Purchase Agreement. (ECF No. 60 at Seventh Affirmative Defense). Plaintiff’s argument against

  the Seventh Affirmative Defense is based on the incorrect statement of law that every transfer of

  membership interest results in a member being a dissociated member. Plaintiff’s Motion with

  respect to the Seventh Affirmative Defense should thus be denied because it is legally incorrect

  and because it makes “legal conclusions that depend upon the determination of contested factual

  issues” which are not appropriate at the pleading stage. Pujals ex rel. El Rey De Los Habanos,

  Inc. v. Garcia, 777 F. Supp. 2d 1322, 1331 (S.D. Fla. 2011).

     D. Eighteenth, Twentieth, and Twenty-First Affirmative Defenses.

         The Eighteenth Affirmative Defense states that Defendant’s alleged actions were not the

  proximate cause for Plaintiff’s loss. Additionally, the Twentieth and Twenty-First Affirmative

  Defense assert that Plaintiff’s claims are barred by the doctrine of impossibility and commercial

  impracticability, respectively. With respect to Star Capital, the defenses each assert, due to the

  COVID-19 pandemic, that Star Capital’s assets suffered which caused a loss to all members of

  Star Capital, which caused any loss for which Plaintiff complains of in this case. With respect to

  EZ Capital, the defenses each assert that non-party VG Financing is the primary asset of EZ Capital



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  and that due to the COVID-19 pandemic, the business of VG Financing suffered, and therefore EZ

  Capital suffered as well, and caused a loss to all members of EZ Capital, and any loss for which

  Plaintiff complains of in this case.

         First, Plaintiff argues that these defenses are merely denials and should be stricken (ECF

  No. 62 at 8-9), but as set forth above they are affirmative defenses because they raise new facts

  and arguments, and even if they were found to be denials, they should be treated as specific denials

  and not be stricken. Second, Plaintiff argues that these defenses are legally insufficient in that they

  only exist as an excuse for nonperformance in breach of contract cases and cannot be used a

  defense to Plaintiff’s tort or fraud claims. (ECF No. 62 at 14). Through each of the defenses,

  Defendants are alleging that the alleged loss suffered by Plaintiff was not a but-for consequence

  of the alleged misrepresentations, acts, or omissions, but was rather substantially caused by the

  appearance of a supervening or external event. Defendants’ assertion of this type of defense, in

  response to Plaintiff’s claims, is nothing new and has been analyzed by courts throughout the

  country when ruling on securities fraud cases, and other fraud-related cases as well. For example,

  in Patel v. Patel, 761 F. Supp. 2d 1375, 1381 (N.D. Ga. 2011), a court found that the plaintiff had

  not adequately alleged loss causation because the plaintiff had not offered facts distinguishing

  losses caused by the defendants from intervening events that wreaked havoc on the markets as a

  whole. In a similar way, in Bastian v. Petren Res. Corp., 892 F.2d 680, 684 (7th Cir. 1990), the

  Seventh Circuit analyzed whether the plaintiff’s investment was wiped out by the collapse in oil

  prices and not because of defendants’ alleged misrepresentations. In First Nationwide Bank v.

  Gelt Funding Corp., 27 F.3d 763, 772 (2d Cir. 1994), the Second Circuit ruled that the timing of

  the losses suggested that the real estate market crash was a substantial cause for plaintiff’s loss,

  and therefore plaintiff could not satisfy the elements for its RICO claim.



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          In a similar way to the cases cited above, here, the COVID-19 pandemic was a supervening

   event that interrupted the causal chain between the Defendants’ alleged misrepresentations, acts,

   and/or omissions and any alleged loss suffered by Plaintiff. The financial havoc brought by the

   COVID-19 pandemic was the cause of any loss suffered by Plaintiff. Plaintiff attempts to respond

   to this defense by alleging that these defenses cannot stand because Plaintiff invested in 2017 while

   the COVID-19 pandemic began on 2020. (ECF No. 62 at 14-15). Yet, Plaintiff filed this case in

   May 2020, and Plaintiff’s argument that it suffered any damages prior to the COVID-19, and

   Plaintiff’s argument that its damages were not the result of COVID-19 or the degradation of EZ

   Capital’s primary asset, is essentially an improper argument as to legal conclusions that depend on

   a determination of contested factual issues, and should be therefore denied. Thus, this Court should

   deny Plaintiff’s arguments with respect to the Eighteenth, Twentieth and Twenty-First Affirmative

   Defenses.

          WHEREFORE, Defendants respectfully request that this Court enter an order denying

   Plaintiff’s Motion to Strike Affirmative Defenses, and any such other and further relief as this

   Court deems just and proper.



   Dated: May 10, 2021                                           Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that, on this 10th day of May, 2021 a copy of the foregoing has been

   served via the Court’s CM/ECF portal to:



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